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8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   )   2:07-cr-571-GEB
                                                 )
12                            Plaintiff,         )   ORDER RE TRIAL
                                                 )   CONFIRMATION HEARING
13                v.                             )
                                                 )
14   ERIC BROOKS,                                )
                                                 )
15                            Defendant.         )
                                                 )
16
17                Defendant Brooks’ counsel contends that the trial
18   scheduled to commence in this action on February 10, 2009, should
19   be continued because his counsel told the Court at the status
20   hearing held on July 11, 2008, that he “has a trial set in state
21   court which will conflict with the current trial date in this
22   matter.”     (Request That Trial Date be Vacated, filed January 14,
23   2009).      However, a rough draft of the transcript from the July 11,
24   2008, status hearing does not support this assertion.             That
25   transcript shows Brooks’ counsel, Mr. Samuels, stated: “I can
26   represent to the Court that I am scheduled to be in a death penalty
27   case from October through the end of January, so I think for
28   continuity and preparation, the exclusion is appropriate for


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1    myself.”     The referenced exclusion concerned the Speedy Trial Act.
2    Nothing in the record supports Brooks’ counsel’s assertions that I
3    scheduled trial in this action when I knew it conflicted with
4    another trial he had scheduled, and that he told me about the
5    conflict.
6                 The judicial system depends on lawyers, as officers of
7    the court, to assist the court in its endeavor to schedule trials
8    when lawyers are available for appearances.           Therefore, absent an
9    adequate showing why Mr. Samuels is unavailable for trial on
10   February 10, it appears that the trial scheduled for February 10,
11   2009, should be confirmed at the trial confirmation hearing
12   scheduled on January 23, 2009.
13   Dated:     January 21, 2009
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15                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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